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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
ACCESS FOR THE DISABLED, INC.. a Florida :
not for profit corporation, and :
PATRICIA KENNEDY, Individually,
Plaintiffs, : Case No.

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FIRST RESORT, INC., a Florida Corporation,

Defendant.

COMPLAINT

Plaintiffs, ACCESS FOR THE DISABLED, INC.. a Florida Non Profit Corporation, and
PATRICIA KENNEDY, Individually, on their behalf and on behalf of all other individuals similarly
situated, (sometimes referred to as “Plaintiff? or “Plaintiffs”), hereby sue the Defendant, FIRST
RESORT, INC., a Florida Corporation, (sometimes referred to as “Defendant”), for Injunctive
Relief, and attorney’s fees, litigation expenses, and costs pursuant to the Americans with Disabilities
Act, 42 U.S.C. § 12181 et seq. (“ADA”) and Florida Accessability Code ("FAC").

1. Plaintiff, ACCESS FOR THE DISABLED, INC.. is a non-profit corporation formed under
the laws of the State of Florida. ACCESS FOR THE DISABLED, INC. maintains its
principal office at 1440 Coral Ridge Drive, Coral Springs, Florida, in the County of Broward.

2 Defendant’s property, Siesta Inns and Suites, 2303 1st Street East, Bradenton, FL 34208, is

located in the County of Manatee.
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Venue is properly located in the MIDDLE DISTRICT OF F LORIDA because venue lies in
the judicial district of the property situs. The Defendant’s property is located in and does
business within this judicial district.

Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original
jurisdiction over actions which arise from the Defendant’s violations of Title III of the
Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28 U.S.C. § 2201 and
§ 2202.

Plaintiff PATRICIA KENNEDY is a Florida resident. is sui juris, and qualifies as an
individual with disabilities as defined by the ADA. PATRICIA KENNEDY has visited the
property which forms the basis of this lawsuit and plans to return to the property to avail
himself of the goods and services offered to the public at the property, and to determine
whether the property has been made ADA compliant. The Plaintiff has encountered
architectural barriers at the subject property. The barriers to access at the property have
endangered her safety. The Plaintiff is also a member of the Plaintiff organization, ACCESS
FOR THE DISABLED, INC.., discussed below in paragraph 6.

Plaintiff ACCESS FOR THE DISABLED. INC.. isa nonprofit Florida corporation. Members
of this organization include individuals with disabilities as defined by the ADA, and are
representative of a cross-section of the disabilities to be protected from discrimination by the
ADA. The purpose of this organization is to represent the interest of its members by assuring
places of public accommodation are accessible to and usable by the disabled and that its
members are not discriminated against because of their disabilities. ACCESS FOR THE
DISABLED, INC. and its members have suffered and will continue to suffer direct and

indirect injury as a result of the Defendant’s discrimination until the Defendant is compelled
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to comply with the requirements of the ADA. One or more of its members has suffered an
injury that would allow it to bring suit in its own right. ACCESS FOR THE DISABLED.
INC. has also been discriminated against because of its association with its disabled members
and their claims. Plaintiffs are deterred from, and are denied the opportunity to participate
and benefit from the goods, services, privileges, advantages, facilities and accommodations
at Defendant's property equal to that afforded to other individuals. Plaintiffs are aware that
it would be a futile gesture to attempt to visit Defendant's property if they wish to do so free
of discrimination.

7. Defendant owns, leases, leases to, or operates a place of public accommodation as defined
by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and 36.104.
Defendant is responsible for complying with the obligations of the ADA. The place of public
accommodation that the Defendant owns, operates, leases or leases to is known as Siesta Inns
and Suites, 2303 1st Street East, Bradenton, FL 34208.

8. ACCESS FOR THE DISABLED, INC. and PATRICIA KENNEDY have a realistic,
credible, existing and continuing threat of discrimination from the Defendant’s non-
compliance with the ADA with respect to this property as described but not necessarily
limited to the allegations in paragraph 10 of this Complaint. Plaintiffs have reasonable
grounds to believe that they will continue to be subjected to discrimination in violation of
the ADA by the Defendant. PATRICIA KENNEDY desires to visit Siesta Inns and Suites
not only to avail herself of the goods and services available at the property but to assure
herself that this property is in compliance with the ADA so that she and others similarly

situated will have full and equal enjoyment of the property without fear of discrimination.
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9.

10.

The Defendant has discriminated against the individual Plaintiff and members of the
corporate Plaintiff organization by denying them access to. and full and equal enjoyment of,
the goods, services, facilities, privileges, advantages and/or accommodations of the
buildings, as prohibited by 42 U.S.C. § 12182 et seq.

The Defendant has discriminated, and is continuing to discriminate. against the Plaintiff in
violation of the ADA and FAC by failing to, inter alia, have accessible facilities by January
26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts
of $500,000 or less). A preliminary inspection of Siesta Inns and Suites has shown that
violations exist. These violations include, but are not limited to:

Access to Goods and Services and Personnel

1.The facility fails to provide access to essential personnel, in violation of Section 4.32.4
of the

ADAAG whose resolution is readily achievable.

2. The facility fails to adhere to a policy and procedure to afford goods, services, facilities,
privileges, advantages, or accommodations to individuals with disabilities in violation of 28
C.F.R. Part 36.302.

3. The facility fails to properly maintain accessible features and equipment required to be
readily accessible to and usable by persons with disabilities in violation of 28 C.F.R. Part
36.211.

Parking and Loading zone

4. The facility also fails to maintain proper signage for all accessible parking spaces in
violation of section 4.6.4 of the ADAAG whose resolution is readily achievable.

5. The facility fails to provide the proper number of accessible parking spaces in violation
of Section 4.1.2 of the ADAAG whose resolution is readily achievable.

6. The facility fails to provide sufficient access aisle in violation of section 4.6.6 of the
ADAAG whose resolution is readily achievable.

Restrooms
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11.

7. The facility fails to provide required grab bars in all restrooms in violation of Section
4.17.6 and 4.16.4 of the ADAAG whose resolution is readily achievable.

8. The facility fails to adhere to all the required reach limitations, Violating sections 4.2.5
and
4.2.6 of the ADAAG, whose resolution is readily achievable.

9. The facility fails to provide protective features in all the restrooms , Violating section
4.19.4 of the ADAAG, whose resolution is readily achievable.

10. The restroom door has improper hardware for disabled persons, in violation of Section
4.13.9 of the ADAAG, whose resolution is readily achievable.

11. The facility fails to provide all shower fixtures that comply with the ADAAG section
4.19.6 whose resolution is readily achievable.

12. The facility fails to provide plumbing fixtures suitable for a disabled person required
in section 4.19.5 of the ADAAG, whose resolution is readily achievable.

13. The bathroom fixtures provided by this facility do not meet all the requirements of the
ADAAG
section 4.16 Fig 29 and 4.17.3 Fig 30, whose resolution is readily achievable.

14. The bathroom fixtures provided by this facility do not meet all the requirements of the
ADAAG

section 9.1.2, whose resolution is readily achievable.

15. The bathroom fixtures provided by this facility do not meet all the requirements of the
ADAAG section 4.20.3, whose resolution is readily achievable.

Accommodations

16. The facility fails to adhere to all the required reach limitations, Violating sections 4.2.5

126 of the ADAAG, whose resolution is readily achievable.

17. The tables provided by this facility fail to meet the requirements of the ADAAG section
32

iol resolution is readily achievable.

The discriminatory violations described in paragraph 10 are not an exclusive list of the

Defendant’s ADA and FAC violations. Plaintiffs require the inspection of the Defendant’s
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12.

place of public accommodation in order to photograph and measure all of the discriminatory
acts violating the ADA and FAC and all of the barriers to access. The individual Plaintiff,
the members of the Plaintiff group, and all other individuals similarly situated, have been
denied access to, and have been denied the benefits of services, programs and activities of
the Defendant’s buildings and its facilities, and have otherwise been discriminated against
and damaged by the Defendant because of the Defendant’s ADA and FAC violations, as set
forth above. The individual Plaintiff, the members of the Plaintiff group and all others
similarly situated will continue to suffer such discrimination, injury and damage without the
immediate relief provided by the ADA and FAC as requested herein. In order to remedy this
discriminatory situation, the Plaintiffs require an inspection of the Defendant’s place of
public accommodation in order to determine all of the areas of non-compliance with the
Americans with Disabilities Act.

Defendant has discriminated against the individual and corporate Plaintiffs by denying them
access to full and equal enjoyment of the goods, services, facilities, privileges, advantages
and/or accommodations of its place of public accommodation or commercial facility in
violation of 42 U.S.C. § 12181 et_seq. and 28 CFR 36.302 et_seq. Furthermore, the
Defendant continues to discriminate against the Plaintiff, and all those similarly situated by
failing to make reasonable modifications in policies, practices or procedures, when such
modifications are necessary to afford all offered goods, services, facilities, privileges,
advantages or accommodations to individuals with disabilities: and by failing to take such
efforts that may be necessary to ensure that no individual witha disability is excluded, denied
services, segregated or otherwise treated differently than other individuals because of the

absence of auxiliary aids and services.
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13. Plaintiffs are without adequate remedy at law and are suffering irreparable harm. Plaintiffs
have retained the undersigned counsel and are entitled to recover attorney’s fees, costs and
litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28 CFR 36.505.

14. Defendant is required to remove the existing architectural barriers to the physically disabled
when such removal is readily achievable for its place of public accommodation that have
existed prior to January 26, 1992, 28 CFR 36.304(a): in the alternative, if there has been an
alteration to Defendant’s place of public accommodation since January 26, 1992, then the
Defendant is required to ensure to the maximum extent feasible. that the altered portions of
the facility are readily accessible to and useable by individuals with disabilities, including
individuals who use wheelchairs, 28 CFR 36.402: and finally, if the Defendant's facility is
one which was designed and constructed for first occupancy subsequent to January 26, 1993,
as defined in 28 CFR 36.401, then the Defendant’s facility must be readily accessible to and
useable by individuals with disabilities as defined by the ADA.

15. Notice to Defendant is not required as a result of the Defendant’s failure to cure the
violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer employees
and gross receipts of $500,000 or less). All other conditions precedent have been met by
Plaintiffs or waived by the Defendant.

16. Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs
Injunctive Relief, including an order to require the Defendant to alter Siesta Inns and Suites
to make those facilities readily accessible and useable to the Plaintiffs and all other persons
with disabilities as defined by the ADA; or by closing the facility until such time as the
Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:
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a. The Court issue a Declaratory Judgment that determines that the Defendant at the
commencement of the subject lawsuit is in violation of Title III of the Americans
with Disabilities Act, 42 U.S.C. § 12181 et seq. and FAC.

b. Injunctive relief against the Defendant including an order to make all readily
achievable alterations to the facility: or to make such facility readily accessible to and
usable by individuals with disabilities to the extent required by the ADA and FAC:
and to require the Defendant to make reasonable modifications in policies, practices
or procedures, when such modifications are necessary to afford all offered goods,
services, facilities, privileges, advantages or accommodations to individuals with
disabilities: and by failing to take such stops that may be necessary to ensure that no
individual with a disability is excluded. denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and

services.

c: An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.
§ 12205.

d. Such other relief as the Court deems just and proper, and/or is allowable under

Title II] of the Americans with Disabilities Act.

Respectfully Submitted,

MYLA_—
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